                      Case 24-12653-SMG         Doc 79        Filed 07/11/24     Page 1 of 2




         ORDERED in the Southern District of Florida on July 11, 2024.



                                                              Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION


          In re:                                                       Case No. 24-12653-SMG
          JEFFREY MARK GALLUPS                                         Chapter 7

                     Debtor.
                                                      /

         ORDER GRANTING TRUSTEE’S MOTION FOR ENTRY OF ORDER AUTHORIZING
            THE TRUSTEE TO SELL THE DEBTOR’S INTERESTS IN CERTAIN LIFE
                               INSURANCE POLICIES


                This matter came before the Court for hearing on July 10, 2024 at 10:00 a.m. upon the

         Trustee’s Motion for Entry of Order Authorizing the Trustee to Sell the Debtor’s Interests in

         Certain Life Insurance Policies (“Motion”) [ECF #72]. The Court having heard from counsel for

         the Trustee, having reviewed said Motion, and noting that no objections were filed, and being

         otherwise fully advised in the premises, it is ORDERED as follows:

                                                          1
               Case 24-12653-SMG           Doc 79      Filed 07/11/24     Page 2 of 2




       1.      The Motion is GRANTED.

       2.      The Trustee is authorized to sell the Policies (as defined in the Motion) upon the

terms set forth in the Purchase Agreement attached to the Motion, and execute any and all

documents necessary in connection with the proposed sale.

                                                 ###

Submitted by: Mark Bonacquisti, Esq.
              FBN 0703257

               The Salkin Law Firm
               P.O. Box 15580
               Plantation, FL 33318
               (954) 423-4469
               mark@msbankrupt.com

Mr. Bonacquisti will provide a true and correct copy and file a certificate of service to all interested
parties.




                                                   2
